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     18 Attorneys for Plaintiffs
                                              UNITED STATES DISTRICT COURT
     19                                      NORTHERN DISTRICT OF CALIFORNIA

     20 TANSEER KAZI, et al., individually and on behalf              Case No: 3:18-cv-04810-JCS
          of all those similarly situated,
     21                                                               THIRD AMENDED COMPLAINT FOR
                 Plaintiffs,                                          VIOLATION OF CALIFORNIA LABOR
     22                                                               CODE, CALIFORNIA INDUSTRIAL
          vs.
     23                                                               WELFARE COMMISSION ORDERS, AND
          PNC BANK, N.A., et al.                                      CALIFORNIA UNFAIR COMPETITION
     24                                                               LAW and DEMAND FOR JURY TRIAL
                 Defendants.
     25                                                               Date:
                                                                      Time:
     26                                                               Before: Hon. Joseph C. Spero
                                                                      Courtroom: F
     27                                                               Trial Date: None Set
     28
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29                                    THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS

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                  Plaintiff LINDA SCHEID (Plaintiff), on behalf of herself and all others similarly situated,
      1
      2 demanding trial by jury, allege as follows:
      3
                                                          PARTIES
      4
      5           1.     Plaintiff is informed and believes, and thereon allege, that defendant PNC BANK, N.A.
      6 (hereinafter "PNC") was and is a company in the business of banking, including specifically making
      7 residential mortgage loans, within the State of California. Unless otherwise stated, all references herein
      8 are to PNC’s policies and practices within the State of California since four years before the filing of the
      9 original Complaint herein on June 28, 2018.
     10           2.     Plaintiff is an adult individual, competent to bring this action. Plaintiff is a citizen and
     11 resident of the State of California. At the filing of the First Amended Complaint, PNC employed Plaintiff
     12 Linda Scheid in California as a Mortgage Loan Officer, but subsequently terminated her. Plaintiff, like
     13 other PNC Mortgage Loan Officers, has been responsible for originating and producing residential
     14 mortgage loans for potential borrowers from PNC, in accordance with PNC’s established policies and
     15 procedures.
     16           3.     PNC has wrongly failed to provide paid rest periods (as that term is defined in California
     17 Wage Order 4-2001, § 12) or in their absence pay added wages (hereinafter “premium wages”), failed
     18 timely to pay all accrued premium wages for missed rest periods on termination of employment, failed
     19 to provide properly itemized pay statements, and failed to maintain proper time/pay records to or for
     20 Plaintiff and other of its former and present employees whom it employed as Mortgage Loan Officers as
     21 California law requires and as alleged below in greater detail.
     22           4.     Plaintiff is ignorant of the true names and/or capacities of the defendants sued herein as
     23 Does 1-100, inclusive, and therefore sue these defendants by such fictitious names. Plaintiff will amend
     24 the complaint to allege their true names and capacities when ascertained. Plaintiff is informed and
     25 believes, and thereon alleges, that each of the fictitiously named defendants is legally responsible for the
     26 occurrences herein alleged and that plaintiffs’ losses and damages are the result of their wrongful
     27 conduct. PNC and Does 1-100 are hereinafter collectively referred to as “Defendants.”
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                                    THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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                                  JURISDICTION AND VENUE
      1
      2
                  5.      Throughout the relevant period, PNC has conducted its business in this judicial district.
      3
          For example, PNC maintains an office at 5700 Stoneridge Mall Rd Suite 150, Pleasanton, CA 94588.
      4
          Also, within the last year preceding the filing of this legal action, Plaintiff Tanseer Kazi performed
      5
          services for PNC within the county of Alameda, California, for which days of work PNC was required
      6
          to provide a rest period but failed to do so and then did not pay a premium wage.
      7
                  6.      This case was originally filed in the Superior Court in and for the County of Alameda,
      8
          California. Defendant PNC removed this case to the U.S. District Court for the Northern District of
      9
          California, invoking to 28 U.S.C. §§ 1332(d), 1441, and 1446.
     10
     11                           CLASS ACTION ALLEGATIONS
     12
     13           7.      Plaintiff’s claims alleged herein are brought individually on behalf of the Plaintiff and in

     14 a representative capacity on behalf of similarly situated current and former Mortgage Loan Officers.
     15 Plaintiff asserts violations of California law on behalf of herself and all others similarly situated, who
     16 are described as follows: all persons whom PNC employed in the State of California as a Mortgage Loan
     17 Officer at any time since four years before the filing of this legal action until such time as there is a final
     18 disposition of this lawsuit (hereinafter the “Class”).
     19           8.      Plaintiff, who seeks to serve as representative of the Class, is a member of the Class. Like

     20 the other members of the Class, Plaintiff suffered some form of injury of which complaint is herein
     21 alleged on behalf of the Class whom Plaintiff seeks to represent, including not having been provided
     22 paid rest periods required by her non-exempt employee status in violation of California law. This
     23 includes not having received properly itemized pay statements identifying missed rest periods and
     24 premium wages owed for missed rest periods in violation of California law, not having been timely paid
     25 accrued final wages, not having been provided rest periods or paid premium pay in her absence, and not
     26 receiving pay for time worked which was not directly related to the work for which she was are paid a
     27 piece-rate, in violation of California law. In addition, Plaintiff is informed and believes, and thereon
     28
29                                                           2
                                     THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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      1 allege, that Defendants have not maintained pay/time records for Plaintiff and the Class in violation of
      2 California law.
      3          9.       Plaintiff is unable to state the exact number of the Class. Plaintiff is informed and

      4 believes, and thereon alleges, that the Class exceeds 100 persons and are geographically dispersed,
      5 including across several counties in California. The members of the Class are so numerous as to make
      6 joinder impracticable. Plaintiff is informed and believes, and thereon allege, that Defendants have
      7 identified or can readily identify members of the Class, but that it is impractical, in light of their number
      8 and geographic diversity to bring them all before this Court as named plaintiffs.
      9          10.      The common questions of law or fact, which are of general interest, predominate over any

     10 questions affecting individual class members only, rendering a class action a superior to other available
     11 methods for the fair and efficient adjudication of the controversy. These questions are such that proof
     12 of a state of facts common to the members of the Class will entitle each member of the Class to some
     13 form of relief as requested in this Complaint. The questions of law or fact common to the Class, include,
     14 but are not limited to, the following examples:
     15                   a.     The rights that are the subject of this litigation are held in common by the Class'

     16          members, including Plaintiff, arise under California law. The Class’ claims for violation of

     17          California Business & Professions Code §§ 17200, et seq. insofar as failure to provide rest

     18          periods or in their absence pay premium wages, failure to pay for time worked which is not
     19          directly related to the work for which they are paid a piece-rate, failure timely to pay final

     20          accrued premium wages on termination of employment, failure to provide accurate and complete

     21          itemized pay statements, and failure to maintain time/pay records rely on the California Labor

     22          Code or Industrial Welfare Orders as predicate unlawful acts to support a finding that

     23          Defendants have engaged and are engaging in unfair business practices.

     24                   b.     Since at least four years before the filing of this legal action, Defendants have had

     25          a uniform policy and practice for Plaintiff and the Class of not paying premium wages for missed

     26          rest periods, not separately paying for time not directly related to the piece-rate (“non-productive
     27          time”), not providing properly itemized pay statements that accurately reflect missed rest periods

     28          and premium wages for missed rest periods, not timely paying final accrued wages on
29                                                          3
                                    THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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      1           termination of employment, and, according to Plaintiff’s information and belief, not maintaining

      2           records that accurately reflect hours worked and applicable hourly rates.

      3                  c.      Since at least four years before the filing of this legal action, Defendants have had

      4           a policy and a uniform practice of paying Plaintiff and the Class on a commission basis. While

      5           nominally stating that Plaintiff and the Class are entitled to minimal hourly compensation,

      6           Defendants recapture such hourly compensation as a credit against commissions earned in the

      7           same or other pay periods. Whether this common compensation practice satisfies the

      8           requirement under California law that rest periods be paid is a common question.

      9                  d.      During the relevant time, whether or not Defendants have acted in good faith so

     10           as to avoid penalties sought herein is a common question.

     11           11.    Plaintiff will fairly and adequately protect the interests of the Class, whom Plaintiff seeks

     12 to represent. Plaintiff’s legal counsel, who is competent and experienced in wage and hour class action
     13 litigation, will also fairly and adequately represent the Class.
     14           12.    The claims of the Plaintiff are typical of the claims of the Class they would represent.

     15 Plaintiff is not asserting any individual claims qualitatively different from the Class claims.
     16           13.    The prosecution of separate actions by individual Class members would create the risk of

     17 inconsistent or varying adjudications of California law in different courts with respect to individual Class
     18 members, which could establish incompatible standards of conduct for Defendants.
     19           14.    Plaintiff is informed and believes, and thereon alleges, that Defendants, in refusing to pay

     20 and provide or pay employee benefits as herein alleged to or for the members of the Class, including
     21 Plaintiff, have acted and refused to act on grounds generally applicable to all claims, thereby making
     22 appropriate injunctive and monetary relief for all members of the Class.
     23           15.    Wherefore, a well-defined community of interest exists among the members of the Class,

     24 including Plaintiff.
                                                FACTUAL ALLEGATIONS
     25
     26                                                Summary
     27
     28
29                                                           4
                                     THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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      1          16.     Except where otherwise alleged, the following circumstances have existed since at least

      2 four years before the filing of this legal action and apply to the members of the Class, including Plaintiff.
      3 PNC has paid the Class Members on the basis of commissions earned for loans made. PNC nominally
      4 also has stated that the Class Members have been entitled to hourly pay in the event that the commissions
      5 did not rise to a specified level. However, any such hourly payments to Class Members have been subject
      6 to having been credited against commissions earned and thereby recaptured by Defendants.
      7 Consequently, Defendants have not paid the Class Members separate compensation as required for
      8 commission employees under California law. Defendants therefore have not provided the Class
      9 Members with rest periods that have been compliant with California law that at all relevant times has
     10 required that rest periods be separately compensated for piece rate employees.                 Additionally,

     11 Defendants’ pay structure fails to pay for non-productive time such as: training sessions, webinars,
     12 meetings, including weekly staff meetings, driving, booting up a work computer, logging into
     13 Defendant’s computer system, installing software and security updates on work computers, logging into
     14 Defendant’s network, performing security opening procedures at a branch, and similar duties where
     15 Class Members are not selling loan products.
     16          17.     With notice to Defendants, Plaintiff and the Class regularly have worked sufficient hours

     17 to trigger Defendants’ obligation to provide a compliant rest period. Defendants have not provided
     18 compliant rest periods as required by California IWC Wage Order No. 4-2001 and California Labor Code
     19 §226.7 by failing to provide Plaintiff and the Class paid ten (10) minute uninterrupted rest periods as set
     20 forth under California law for daily work periods in excess of 3.5 hours, nor paid premium wages in the
     21 absence of such required, paid, uninterrupted daily rest periods.
     22          18.     The itemized pay statements that Defendants have provided to Plaintiff and the Class

     23 Members have violated California Labor Code §226(a) by failing to include in each issued written pay
     24 statement al information required by Cal. Labor Code §226(a); including but not limited to, failing to
     25 provide an accurate itemized statement in writing for each pay period showing: (a) total hours worked
     26 by the Plaintiff or member of the class; (b) the number of piece rate units earned and applicable piece
     27 rate; (c) all applicable hourly rates in effect during the pay period and the corresponding number of hours
     28 worked at each hourly rate by the employee; (d) the total hours of non-productive time and the rate of
29                                                          5
                                    THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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      1 compensation for non-productive time; (e) the employee’s total hours worked during the pay period and
      2 (f) not identifying missed rest periods and have not identified all premium wages to which Plaintiffs and
      3 the Class have been entitled.
      4          19.     Plaintiff is informed and believes, and thereon alleges, that Defendants’ time and pay

      5 records are similarly inaccurate and do not accurately record missed rest periods and premium wages
      6 owed.
      7          20.     Class members who have terminated their employment have not been paid accrued wages

      8 represented by the premium wages owed for missed rest periods in a timely manner.
      9          21.     Defendants’ failure to provide rest periods and in their absence to have paid premium

     10 wages has not been the result of clerical error or inadvertence but the result of a deliberate decision to
     11 adopt the above-described compensation model.
     12
     13      FIRST CLAIM BY PLAINTIFFS ON BEHALF OF HERSELF AND THE CLASS AGAINST
     14 ALL DEFENDANTS FOR VIOLATION OF CALIFORNIA LABOR CODE AND CALIFORNIA
        INDUSTRIAL COMMISSION WAGE ORDERS –REST PERIODS
     15                                                (Class Claim)
     16
     17          22.     Plaintiff hereby incorporates by reference as though fully set forth at length herein all
     18 prior Paragraphs of this Complaint.
     19          23.     As hereinabove alleged, Defendants willfully failed to provide paid rest periods or pay
     20 premium wages in lieu thereof as required by California Labor Code § 226.7, Wage Order 4-2001, § 12,
     21 and comparable paragraphs in any other applicable Wage Order. Defendants therefore breached their
     22 duties to Plaintiff, and other members of the Class who have performed services since three years before
     23 the filing of this legal action, under the California Labor Code and California Industrial Welfare
     24 Commission Wage Order 4-2001 or any other applicable Wage Order.
     25          24.     Defendants willfully failed to pay all termination wages, including accrued added wages
     26 for missed rest periods and wages for failing to pay for non-productive time, within the time limits set
     27 forth for the payment of termination wages under California Labor Code §§201-203. Defendants
     28 therefore breached their duties to the members of the Class who terminated their employment with PNC
29                                                          6
                                    THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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      1 since three years before the filing of this legal action, under the California Labor Code. Plaintiff requests
      2 that Defendants be required to pay the members of the Class who have terminated their employment with
      3 PNC at any time since three years before the filing of this legal action, waiting time penalties under
      4 California Labor Code § 203.
      5           25.    Plaintiff requests that Defendants be required to pay to them and other members of the

      6 Class who performed services in California for PNC at any time since three years before the filing of
      7 this legal action premium wages for missed rest periods, and any applicable statutory penalties. Plaintiff
      8 further requests that any unpaid residue be ordered paid “to nonprofit organizations or foundations to
      9 support projects that will benefit the Class or similarly situated persons, or that promote the law
     10 consistent with the objectives and purposes of the underlying cause of action, to child advocacy
     11 programs, or to nonprofit organizations providing civil legal services to the indigent…” as provided
     12 under California Code of Civil Procedure § 384(b).
     13           26.   In pursuing the claims alleged herein, including their investigation and litigation, Plaintiff

     14 has incurred or will incur attorneys' fees (and paralegal fees) and costs for which Plaintiff seeks
     15 reimbursement from Defendants. These costs include, but are not limited to, filing fees, deposition
     16 charges, service of process fees, photocopying, telephone charges, fax charges, postage charges,
     17 travel/transportation expenses, messenger and other delivery charges, expert/consultant expenses,
     18 expenses associated with the preparation of evidence for presentation at trial, and other charges
     19 customary to the conduct of litigation. An award of such fees and costs is appropriate because the
     20 prosecution of this action will result in in the enforcement of an important right affecting the public
     21 interest as (a) a significant benefit, whether pecuniary or non-pecuniary, will be conferred on the general
     22 public or a large class of persons, (b) the necessity and financial burden of private enforcement are such
     23 as to make the award appropriate, and (c) such fees should not in the interest of justice be paid out of the
     24 recovery.
     25           Wherefore, Plaintiff prays for a judgment and a decree as hereinafter set forth.

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                                     THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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           SECOND CLAIM BY PLAINTIFF ON BEHALF OF HERSELF AND THE CLASS AGAINST ALL
      1       DEFENDANTS FOR VIOLATION OF CALIFORNIA LABOR CODE AND CALIFORNIA
      2        INDUSTRIAL COMMISSION WAGE ORDERS – UNPAID NON-PRODUCTIVE TIME
                                                        (Class Claim)
      3
      4         27.      Plaintiff hereby incorporates by reference as though fully set forth at length herein all

      5   prior Paragraphs of this Complaint.

      6         28.      Defendants willfully failed to pay Plaintiff and Class Members for non-productive time.

      7   Specifically, the pay system implemented by Defendants does not provide separate hourly pay for

      8   non-productive time, including time spent engaging in training sessions, weekly meetings, and

      9   driving. Defendants therefore breached their duties to Plaintiff, and other members of the Class who

     10   have performed services since three years before the filing of this legal action, under the California

     11   Labor Code and California Industrial Welfare Commission Wage Order 4-2001 or any other

     12   applicable Wage Order.

     13         29.     As hereinabove alleged, Defendants willfully failed to pay to Plaintiff, and other members

     14   of the Class, accrued wages (whether calculated based on the statutory minimum wage rate or regular

     15   rate of pay) pay as required under the California Labor Code, including Labor Code §§ 221, 223, 226.2,

     16   and 1194, and paragraph 4 of California Industrial Welfare Commission Wage Order 4-2001 [8 CCR §

     17   11040 (2001)], or any other applicable Wage Order. Defendants therefore breached their duties to

     18   Plaintiff, and other members of the Class who have performed services since three years before the

     19   filing of this legal action, under the California Labor Code and California Industrial Welfare

     20   Commission Wage Order 9-2001 or any other applicable Wage Order.

     21
               30.      Defendants willfully failed to pay all termination wages, including for non-productive
     22
          work time, within the 30 day time limit set forth for the payment of termination wages under California
     23
          Labor Code §§201-203. Defendants therefore breached their duties to the members of the Class who
     24
          terminated their employment with Defendants since three years before the filing of this legal action,
     25
          under the California Labor Code. Plaintiff requests that Defendants be required to pay the members of
     26
          the Class who have terminated their employment with Defendants at any time since three years before
     27
          the filing of this legal action waiting time penalties under California Labor Code §§201-203.
     28
29                                                          8
                                    THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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      1          31.     Plaintiff requests that Defendants be required to pay to them, and other members of the

      2 Class who performed services for Defendants at any time since three years before the filing of this legal
      3 action, wages (calculated at the greater of the statutory minimum wage rate or regular rate of pay) and
      4 any applicable statutory penalties as provided under the California Labor Code or California Industrial
      5 Welfare Commission Wage Order(s), including under California Labor Code § 1194.2 and paragraph 20
      6 of California Industrial Welfare Commission Wage Order 4-2001. Plaintiff further requests that any
      7 unpaid residue be ordered paid “to nonprofit organizations or foundations to support projects that will
      8 benefit the Class or similarly situated persons, or that promote the law consistent with the objectives and
      9 purposes of the underlying cause of action, to child advocacy programs, or to nonprofit organizations
     10 providing civil legal services to the indigent…” as provided under California Code of Civil Procedure §
     11 384(b).
     12
                 32.     In pursuing the claims alleged herein, including their investigation and litigation, Plaintiff
     13
          has incurred and will incur attorneys' fees (and paralegal fees) and costs for which she seeks
     14
          reimbursement. These costs include, but are not limited to, filing fees, deposition charges, service of
     15
          process fees, photocopying, telephone charges, fax charges, postage charges, travel/transportation
     16
          expenses, messenger and other delivery charges, expert/consultant expenses, expenses associated with
     17
          the preparation of evidence for presentation at trial, and other charges customary to the conduct of
     18
          litigation.
     19
                  Wherefore, Plaintiff prays for a judgment and a decree as hereinafter set forth.
     20
     21
     22     THIRD CLAIM BY PLAINTIFF ON BEHALF OF HERSELF AND THE CLASS AGAINST ALL
              DEFENDANTS FOR VIOLATION OF CALIFORNIA LABOR CODE AND CALIFORNIA
     23       INDUSTRIAL COMMISSION WAGE ORDERS – ITEMIZED PAY STATEMENTS AND
                                        TIME/PAY RECORDS
     24
                                                         (Class Claim)
     25
     26
                  33.    Plaintiff hereby incorporates by reference as though fully set forth at length herein all
     27
          prior Paragraphs of this Complaint.
     28
29                                                           9
                                     THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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      1          34.      As hereinabove alleged, Defendants willfully failed to provide itemized pay statements

      2 to Class Members as required by California Labor Code § 226 and paragraph 7 of California Industrial
      3 Welfare Commission Wage Order 4-2001 [8 CCR § 11090 (2001)], or any other applicable Wage
      4 Order. Defendants also failed to maintain wage time records as required by California Labor Code §
      5 226 and paragraph 7 of California Industrial Welfare Commission Wage Order 4-2001 [8 CCR §
      6 11090 (2001)], or any other applicable Wage Order. The itemized pay statements that Plaintiffs and
      7 the Class received have been inaccurate and violated California Labor Code §226(a) by failing to
      8 include in each issued written pay statement al information required by Cal. Labor Code §226(a);
      9 including but not limited to, failing to provide an accurate itemized statement in writing for each pay
     10 period showing: (a) total hours worked by the Plaintiff or member of the class; (b) the number of piece
     11 rate units earned and applicable piece rate; (c) all applicable hourly rates in effect during the pay period
     12 and the corresponding number of hours worked at each hourly rate by the employee; (d) the total hours
     13 of non-productive time and the rate of compensation for non-productive time; (e) the employee’s total
     14 hours worked during the pay period and (f) not accurately identifying missed rest periods and premium
     15 wages owed at applicable hourly rates. Defendants therefore breached their duties to Plaintiff, and
     16 other members of the Class who have performed services in California since one year before the filing
     17 of this legal action under the California Labor Code and California Industrial Welfare Commission
     18 Wage Order 4-2001 or any other applicable Wage Order.
     19           34 a.    Plaintiff and the Class are “deemed to suffer injury” for purposes of Cal. Labor Code

     20 §226, because Defendants failed to provide accurate and complete written information to Plaintiff and
     21 the Class, as specified above in paragraph 34, and because Plaintiff and the Class therefore cannot
     22 promptly and easily determine from the wage statement alone, the total hours worked or the number of
     23 piece-rate units earned and any applicable piece rate. See Cal. Labor Code §226(B).
     24          35.      Plaintiff requests that Defendants be required to pay to Plaintiff, and other members of the

     25 Class who performed services in California for PNC at any time since one year before the filing of this
     26 legal action damages or statutory penalties as provided under California Labor Code, including § 226.
     27 Plaintiff further requests that any unpaid residue be ordered paid “to nonprofit organizations or
     28 foundations to support projects that will benefit the Class or similarly situated persons, or that promote
29                                                            10
                                      THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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      1 the law consistent with the objectives and purposes of the underlying cause of action, to child advocacy
      2 programs, or to nonprofit organizations providing civil legal services to the indigent…” as provided
      3 under California Code of Civil Procedure § 384(b).
      4          36.    In pursuing the claims alleged herein, including their investigation and litigation,

      5 Plaintiff has incurred or will incur attorneys' fees (and paralegal fees) and costs for which Plaintiff
      6 seeks reimbursement. These costs include, but are not limited to, filing fees, deposition charges,
      7 service of process fees, photocopying, telephone charges, fax charges, postage charges,
      8 travel/transportation expenses, messenger and other delivery charges, expert/consultant expenses,
      9 expenses associated with the preparation of evidence for presentation at trial, and other charges
     10 customary to the conduct of litigation.
     11                Wherefore, Plaintiff prays for a judgment and a decree as hereinafter set forth.

     12
           FOURTH CLAIM BY PLAINTIFF ON BEHALF OF HERSELF AND THE CLASS AGAINST ALL
     13        DEFENDANTS FOR VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW
     14                                                 (Class Claim)
     15
     16          37.    Plaintiff hereby incorporates by reference as though fully set forth at length herein all

     17    prior paragraphs of this Complaint.

     18          38.    As hereinabove alleged, Defendants, in the course of PNC’s business, have committed

     19    acts and engaged in a practice of unfair competition, as defined by California Business & Professions

     20    Code §17200, including the following: a) not providing rest breaks and in their absence paying

     21    required premium wages as California Labor Code §§ 226.7, California Wage Order 4-2001, ¶ 12, and

     22    comparable provisions within any other applicable Wage Order require, b) not paying wages for non-

     23    productive, c) not providing itemized pay statements as California Labor Code § 226, California

     24    Wage Order 4-2001, ¶ 7, and comparable provisions within any other applicable Wage Order require,

     25    d) not timely paying accrued premium wages and wages due for non-productive time on termination

     26    of employment as California Labor Code §§ 201-203 require, and e) not maintaining time/pay records

     27    as California Labor Code § 226, California Wage Order 4-2001, ¶ 7, and comparable provisions

     28    within any other applicable Wage Order require.
29                                                          11
                                    THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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      1         39.     Defendants’ unlawful business acts and practices present a continuing threat. Plaintiffs\

      2   and other Class Members do not have an adequate remedy at law. Wherefore, Plaintiff requests that

      3   Defendants be enjoined from said violations and be ordered to take such steps as are proper to redress

      4   the unlawful conduct that has occurred to date, including the failure to provide legally compliant rest

      5   periods, failure to pay legally required premium wages, failure to provide properly itemized pay

      6   statements, and failure to maintain proper employee pay/time records, all as hereinabove alleged.

      7        40.     As a direct and proximate result of the above-described misconduct, Defendants have

      8   received and continue to hold ill-gotten gains belonging to others as described above, including

      9   Plaintiff. Plaintiff therefore requests that Defendants be ordered to make restitution and disgorgement

     10   of all said ill-gotten gains as part of a fluid fund recovery to be distributed in accordance with the

     11   Court’s equitable discretion, including consideration that unpaid residue be paid “to nonprofit

     12   organizations or foundations to support projects that will benefit the Class or similarly situated

     13   persons, or that promote the law consistent with the objectives and purposes of the underlying cause

     14   of action, to child advocacy programs, or to nonprofit organizations providing civil legal services to

     15   the indigent…” as provided under California Code of Civil Procedure § 384(b).

     16        41.     Plaintiff requests reasonable attorney’s fees under California Code of Civil Procedure

     17   §1021.5.
               Wherefore, Plaintiff prays for a decree and judgment as hereinafter set forth.
     18
     19    FIFTH CLAIM BY PLAINTIFF AGAINST ALL DEFENDANTS FOR VIOLATION OF LABOR
          CODE PRIVATE ATTORNEYS GENERAL ACT OF 2004, CALIFORNIA LABOR CODE §§2698,
     20
                                             et seq.
     21                                      (non-class, representative claim)
     22
     23         42.   Plaintiff hereby incorporates by reference as though fully set forth at length herein all prior
     24 paragraphs of this Complaint.
     25        43. Plaintiff, as an aggrieved employee, brings this claim under the Labor Code Private Attorneys
     26   General Act of 2004, California Labor Code § 2698, et seq. (PAGA), for herself and on behalf of all
     27   other Mortgage Loan Officers whom PNC employed in California at any time for which recovery is
     28
29                                                          12
                                    THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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      1    authorized under PAGA through the trial of this matter. Recovery under this cause of action is sought

      2    only insofar as not obtained under any of the preceding claims.

      3         44.      As herein alleged, Defendants have violated the provisions of the California Labor Code,

      4    including in failing to provide duty free rest periods or in their absence pay added wages, failing to

      5    pay minimum wages, failing to pay wages owed in a timely manner, failing to provide itemized pay

      6    statements, and failing to keep time/payroll records. Plaintiff for herself and on behalf of all other

      7    Mortgage Loan Officers employed in California by PNC at any time for which recovery is authorized

      8    under PAGA through the trial of this matter seek recovery of unpaid wages resulting from said

      9    violations.

     10          45.     Pursuant to California Labor Code §2699, Plaintiff also seeks recovery of all penalties for

     11    Defendants’ above-described violations of the California Labor Code, except insofar as recovered under

     12    a preceding claim. Such penalties for which Plaintiff now seeks recovery include, but are not limited to,

     13    those based upon the violation of or as provided under California Labor Code §§ 201-203, 204/204b,

     14    210, 216, 225.5, 226, 226.2, 226.3, 226.7, 558, 1174, 1174.5, 1194, 1194.2, 1197, 1197.1, 1198

     15    (incorporating Wage Order § 4-2001, § 12 and comparable sections in any other applicable Wage

     16    Order), and 2698-99.

     17          46.      Plaintiff requests an award of attorneys’ fees, costs, and expenses, including as

     18 authorized under Labor Code §2699. Plaintiff further requests appropriate injunctive relief to stop
     19 Defendants’ ongoing illegal conduct.
     20          47.      To the extent required by California Labor Code § 2699.3, Plaintiff Tanseer Kazi, for

     21 himself and on behalf of Mortgage Loan Officers whom PNC employed in California, by letter
     22 properly submitted on July 2, 2018 to the California Labor and Workforce Development Agency and
     23 sent that day by certified mail to PNC, provided notice of Plaintiff’s intention to prosecute the claims
     24 herein alleged. The California Labor and Workforce Development Agency has not responded.
     25 Consequently, Plaintiff may seek recovery of the civil penalties sought in this claim.
     26                   Wherefore, Plaintiffs pray for a decree and judgment as follows.
     27
     28                                             PRAYER FOR RELIEF
29                                                           13
                                     THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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                 WHEREFORE, Plaintiff seeks relief from this Court in the following respects:
      1
      2          1. The Court declares, adjudges and decrees that this action is a proper class action and certify
      3
          the Class under California Code of Civil Procedure § 382.
      4
      5          2. The Court declares, adjudges and decrees that: a) Defendants violated the California Labor

      6 Code and California Industrial Welfare Commission Wage Orders in failing to provide rest periods or in
      7 their absence pay premium wages as required by Labor Code § 226.7 and applicable Wage Order(s) and
      8 failing timely to pay accrued wages to Class members on termination of employment to or for the Class
      9
          members who performed services in California for PNC at any time since three years before the filing of
     10
          this lawsuit, b) Defendants violated the California Labor Code and the California Industrial Welfare
     11
          Commission Wage Orders in failing to provide compensation for non-productive work time; c)
     12
     13 Defendants violated the California Labor Code and California Industrial Welfare Commission Wage
     14 Orders in failing to provide itemized pay statements as required under California Labor Code §226 and
     15 applicable Wage Order(s) and failing to maintain time/pay records as required under California Labor
     16 Code § 226 and applicable Wage Order(s), to or for the Class members who performed services in
     17
          California for PNC at any time since one year before the filing of this lawsuit, d) Class members are
     18
          entitled to an award for the unpaid premium wages for absence of paid, compliant rest periods,
     19
     20 compensation for unpaid non-productive hours, waiting time penalties, penalties for absence of properly
     21 itemized wage statements/record maintenance, and any other applicable statutory penalties; and e)
     22 equitable distribution of the unpaid residue of any recovery pursuant to CCP § 384.
     23
                 3. The Court declares, adjudges and decrees that: a) Defendants violated the California Unfair
     24
          Business Practices Act/Unfair Competition Law, California Business & Professions Code §§ 17200, et
     25
     26 seq., by engaging in unlawful conduct, including in failing to provide rest periods or in their absence
     27 pay premium wages as required by Labor Code § 226.7 and applicable Wage Order(s), failing to
     28 provide itemized pay statements as required under California Labor Code §226 and applicable Wage
29                                                          14
                                    THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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          Order(s), failing to pay wages for non-productive time, failing timely to pay accrued premium wages to
      1
      2 Class members on termination of employment, and failing to maintain time/pay records as required
      3 under California Labor Code § 226 and applicable Wage Order(s), to or for the Class members who
      4 performed services in California for PNC at any time since four years before the filing of this lawsuit; b)
      5 Defendants should be ordered to make restitution and disgorgement of all ill-gotten gains, including
      6
          unpaid premium wages for missed rest periods, into a fluid recovery fund; and c) injunctive relief
      7
          prohibiting future violations of the rights of the Class members to unpaid wages.
      8
      9           4. Penalties and other relief deemed appropriate under PAGA, California Labor Code § 2698, et
     10 seq.
     11
                  5. The Court decrees such other injunctive relief and/or enters such other orders as are necessary
     12
     13 to dissipate or relieve the effects of the aforesaid violations and illegal acts by Defendants.
     14
                  6. Reasonable attorneys’ fees and costs/expenses, both statutory and non-statutory.
     15
     16           7. Pre-judgment and post-judgment interest as provided by law.

     17           8. Such other relief as the Court deems just and proper.
     18
     19 Dated: June 11, 2021                            FRANK, WEINBERG & BLACK, P.L

     20                                                 ROBERT D. SOLOFF, P.A.

     21                                                 SWARTZ SWIDLER, LLC
     22
                                                        GOLDSTEIN, BORGEN, DARDARIAN & HO
     23
     24                                                 By: _/s/Laura Ho_______________
                                                        Laura Ho
     25                                                 Attorney for Plaintiffs

     26
     27           Plaintiffs hereby demands trial by jury.
     28
29                                                           15
                                     THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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          Dated: June 11, 2021                      FRANK, WEINBERG & BLACK, P.L
      1
      2                                             ROBERT D. SOLOFF, P.A.

      3                                             SWARTZ SWIDLER, LLC
      4                                             GOLDSTEIN, BORGEN, DARDARIAN & HO
      5
                                                    By: _/s/Laura Ho_________________
      6                                             Laura Ho
                                                    Attorney for Plaintiff
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                                 THIRD AMENDED COMPLAINT – CASE NO.: 3:18-CV-04810-JCS
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